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      31.   Officers also found approximately five firearms in the SUV, including

semi-automatic, assault-style rifles, as well as a large quantity of ammunition

organized into loaded magazines. They also found a medical kit containing wound-

treatment supplies and several eye masks of the kind that might be worn while

sleeping.




                       Interior of Boelter’s abandoned SUV

      32.   From the SUV, officers recovered several notebooks full of hand-written

notes. Listed among the pages of those notebooks were the names of more than

45 Minnesota state and federal public officials, including Representative Hortman,

whose home address was written next to her name.

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      33.   One of those notebooks contained lists of internet-based people search

engines including Truepeoplesearch, Spokeo, Pipl, Peoplefinders, Beenverified,

Whitepages, Truthfinder, Intelius, Ownerly, USsearch, and Peoplelooker. I know

from my training and experience, and the training and experience of other officers

and agents involved in this investigation, that these websites aggregate data from

various online and offline sources to provide the querying user details about the

searched-for person, such as home addresses, phone numbers, and information about

family members.




                          Pages from Boelter’s notebook



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